4:24-cv-03177-SMB-MDN Doc# 64-15
Short Message Report

Conversations: 1
Total Messages: 4

Outline of Conversations

CJ +17857388858 » 4 messages on 10/9/2024

Filed: 01/31/25 Page 1of2- Page ID #1160

Participants: 2
Date Range: 10/9/2024

<4026415432> + Cory Pinnel <7857388858>

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Messages in chronological order (times are shown in GMT +00:00)

CJ +17857388858

CP Cory Pinnel <7857388858> m 10/9/2024, 2:36 PM

Hey this is Cory, just letting you know, | feel like they are giving me the runaround as far as getting paid, they just gave
me a new number to call and there's no answer and mailbox is full. Called Chicago back and they said to send a text,
hopefully I'll get a call back soon

Receipts + <40: 1 10/9/2024, 2:36 PM

>t <4026415432> @ 10/9/2024, 2:42 PM
Corey and | will pay you to stay home. $1000 a week. But reach out to the Nebraska department of labor about not
getting paid

>>CP Cory Pinnel <7857388858> & 10/9/2024, 2:44 PM

Thanks, I'm going to give them a couple of hours to see if | get a call back and go from there
Receipts « <4026415432> [R: 10/9/2024, 2:44 PM]

>> pu! <4026415432> t 10/9/2024, 2:44 PM
1

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